         Case 24-30885 Document 17 Filed in TXSB on 03/14/24 Page 1 of 1
                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                                  March 14, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                                            §
                                                  §       CASE NO: 24-30885
JOANNA BURKE,                                     §
                                                  §
         Debtor.                                  §
                                                  §       CHAPTER 13

               ORDER GRANTING MOTION FOR EXTENSION OF TIME

        This matter is before the Court on the Motion for Extension of Time (ECF No. 15) filed by
the pro se debtor. The debtor is requesting additional time to file the required bankruptcy schedules
and statements. The Court will extend the time for the debtor to file these documents. In addition,
the debtor has failed to file a credit counseling certificate. Pursuant to 11 U.S.C. § 109(h), an
individual is not eligible to be a debtor unless that individual has completed an approved credit
counseling course within 180 days prior to filing the bankruptcy petition. The debtor must file a
certificate showing such credit counseling course was completed within 180 days prior to filing
this case.
        THEREFORE, IT IS ORDERED that the Motion to Extend Time is granted. No later
than March 29, 2024, the debtor must file all bankruptcy statements, schedules, and the credit
counseling certificate. The credit counseling certificate must show that credit counseling was
completed within 180 days prior to the filing of this bankruptcy case. If the debtor fails to file
these documents by the deadline, this case will be dismissed without further notice.
         SIGNED 03/14/2024


                                                      ___________________________________
                                                      Jeffrey Norman
                                                      United States Bankruptcy Judge




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